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                             Exhibit S
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                                                      Sony USA

                                                                                                                   Close




  Corporate Fact Sheet
  Sony Corporation of America, based in New York, NY, is a U.S. subsidiary of Sony Corporation, headquartered in Tokyo.
  Sony is a leading manufacturer of audio, video, communications, and information technology products for the consumer
  and professional markets. Its motion picture, television, computer entertainment, music and online businesses make Sony
  one of the most comprehensive entertainment companies in the world. Sony's principal U.S. businesses include Sony
  Electronics Inc., Sony Pictures Entertainment Inc., Sony Computer Entertainment America Inc., and Sony Music
  Entertainment. Sony recorded consolidated annual sales of approximately $78.9 billion for the fiscal year ended March 31,
  2009, and it employs 171,300 people worldwide.

  Annual Sales / Sony Corporation Consolidated


         $78.9 billion (Fiscal Year ended March 31, 2009)


  Workforce


         171,300 employees worldwide (Fiscal Year ended March 31, 2009)


  U.S. Businesses


         Sony Electronics Inc.
         Sony Entertainment Inc.
         Sony Pictures Entertainment
         Sony Music Entertainment
         Sony/ATV Music Publishing (50% ownership)
         Sony Computer Entertainment America Inc.
         Sony DADC Americas
         Sony Plaza Public Arcade and Sony Wonder Technology Lab (New York)
         Sony Card


  U.S. R&D and Engineering Facilities


         San Jose, CA
         San Diego, CA
         Boulder, CO
         Park Ridge, NJ


  Major Manufacturing Sites in North America


         Dothan, AL
         Pitman, NJ
         San Diego, CA
         Terre Haute, IN
         Nuevo Laredo, Mexico
         Tijuana, Mexicali


  More About Sony



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                                                            Sony USA
         A leading audio-visual electronics and information technology company in the U.S. and worldwide
         A leading motion picture and television production company in the U.S. and worldwide
         The co-developer of the CD, DVD, Super Audio CD and Blu-ray Disc
         A leading recorded music company in the U.S. and worldwide
         The developer, manufacturer, and marketer of PlayStation®2 computer entertainment system, PSP®
         (PlayStation®Portable) handheld entertainment system and the PlayStation®3 (PS3®) system
         The inventor of a wide range of consumer audio-visual products, such as the BRAVIA®TV, Cyber-shot® digital
         camera, Handycam® camcorder, Walkman® digital music player, Reader Digital Book, and Memory Stick® flash
         media. Also an innovator in IT products, including VAIO® personal computers, and professional products,
         highlighted by the XDCAM® HD System, HDCAM® 24-P, Digital Betacam® and DVCAM® VTR and camera formats
         The only company fully immersed in every link of the 3D value chain, from content creation, acquisition and
         production to distribution and presentation in the theater and the home. A leader in developing, producing and
         distributing 3D sports, music and game content, a partner in a new 3D television channel (with Discovery
         Communications and IMAX Corporation) and other 3D activities, including relationships with ESPN and RealD, the
         newly opened Sony 3D Technology Center, and a 3D consumer research project
         A publicly held company, with shares listed on four stock exchanges worldwide: New York, London, Tokyo and
         Osaka
         A company with 1,006 consolidated subsidiaries worldwide


  February 2010




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